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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA                         *

               v.                                *            Criminal No.: AW-12-0587

AMECHI ONYEACHOLEM                               *

                                        *    *   *    *   *


               CONSENT MOTION FOR MEDICAL CARE AND TREATMENT

       Defendant, Amechi Onyeacholem, through counsel, hereby moves this Court for a Medical

Order to address her ongoing medical needs that are currently not being met at the Chesapeake

Detention Facility in Baltimore, Maryland. At re-arraignment, the government indicated that it had

no objection to this request. In support of this motion, the following is asserted:

       1. On November 7, 2012, Ms. Onyeacholem was charged in a three-count Indictment with

allegations that she violated 18 U.S.C. § 911 (false claim to US citizenship), 18 U.S.C. § 1542

(passport fraud), and 18 U.S.C. § 1028A(a)(1) (aggravated identity theft).

       2. On December 11, 2012, Ms. Onyeacholem appeared for initial appearance before the

Court. On March 25, 2013, Ms. Onyeacholem pleaded guilty to Counts Two And Three (Passport

Fraud and Aggravated Identity Theft) of the Indictment. She is scheduled for sentencing on June 27,

2013 before this Court.

       3. This motion concerns Ms. Onyeacholem’s need for medical care. Ms. Onyeacholem’s

right leg is amputated below the knee. She walks with the assistance of a prosthetic device. Ms.

Onyeacholem has been in custody since October 2012. During the course of her incarceration, the

prosthetic became broken and is now ill-fitting, which causes cuts and bruising on her leg. To
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account for this, Ms. Onyeacholem must also rely on a cane for mobility.

       4. On January 8, 2013, the magistrate judge entered a Medical Order directing the Marshals

to obtain proper care and treatment for the issue. See Docket Entry #18. There was no action taken

for nearly 30 days. Undersigned counsel submitted a letter request to the United States Marshal

Service. Ms. Onyeacholem was subsequently moved to Chesapeake Detention Center for care and

treatment around February 8, 2013.

       5. Upon information and belief, Ms. Onyeacholem has been advised that her prosthetic

needs to be replaced. However, the facility is concerned with the costs and resources of doing so;

and therefore, no further care has been provided.

       6. We respectfully request that a full physical examination is conducted and that Ms.

Onyeacholem is fitted with a proper prosthetic. The broken and ill-fitted prosthetic is causing

physical injury and pain and should be treated promptly. Ms. Onyeacholem is entitled to medical care

while in custody. See Bell v. Wolfish, 441 U.S. 520 (1979).

       WHEREFORE, Ms. Onyeacholem respectfully moves this Court for an Order directing the

United States Marshal Service to provide necessary and appropriate care, including, but not limited

to a full physical examination for care and replacement of her prosthetic.



                                              Respectfully submitted,

                                              JAMES WYDA
                                              Federal Public Defender

                                                     /S/
                                              __________________________________
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